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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     EDAG ENGINEERING GMBH,                              Case No. 21-cv-04736-EMC (TSH)
                                   8                     Plaintiff,
                                                                                             DISCOVERY ORDER
                                   9              v.
                                                                                             Re: Dkt. No. 135
                                  10     BYTON NORTH AMERICA
                                         CORPORATION,
                                  11
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          The parties have filed a second joint discovery letter brief at ECF No. 135. As discussed at

                                  14   the hearing, some of EDAG’s RFPs are very broad, and EDAG has not narrowed them in any way

                                  15   during meet and confer. For example, RFP 9 seeks (among other things) all of BYTON’s utility

                                  16   bills – electric, gas, water, garbage, cable, internet – for the last four years. As another example,

                                  17   RFP 3 seems to seek all of BYTON’s communications with everyone about anything during the

                                  18   last four years. This letter brief is not what results from a productive meet and confer.

                                  19   Accordingly, the Court denies ECF No. 135 without prejudice. The Court orders the parties to

                                  20   meet and confer further regarding the RFPs at issue in this letter brief and to file a further joint

                                  21   discovery letter brief within 14 days if they are unable to resolve their dispute.

                                  22          IT IS SO ORDERED.

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                                  24   Dated: March 31, 2022

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                                                                                                      THOMAS S. HIXSON
                                  26                                                                  United States Magistrate Judge
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